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                                              October 30, 2019

VIA ECF
Hon. George B. Daniels
United States District Judge
United States District Court, Southern District of New York
500 Pearl St., Court Room 11A
New York, NY 10007-1312

       Re:     Joel and Mary Rich v. Ed Butowsky et al.
               Docket No. 1:18-cv-02223

Dear Judge Daniels:

        Spiro Harrison (“the Firm”) represented Defendant Ed Butowsky (“Butowsky”) in the
above-captioned matter. While Plaintiffs’ appeal was pending in the United States Court of
Appeals for the Second Circuit (“Court of Appeals”), this Firm filed a motion to be relieved as
Butowsky’s counsel (“the Motion”). See Exhibit A. The basis for the Firm’s requested
withdrawal was Butowsky’s intention to appear pro se. The Court of Appeals granted the Motion
on January 31, 2019. See Exhibit B. Given the Court of Appeals’ Order remanding this matter
for further proceedings, the Firm respectfully requests the Court issue an Order permitting the Firm
to be relieved as Butowsky’s counsel on the same grounds detailed in the Motion.

      The Firm thanks the Court for considering its request to be relieved as counsel for
Butowsky.
                                                          Respectfully Submitted,


                                                             /s/David B. Harrison
                                                             David B. Harrison



SO ORDERED on this ___ day of _________, _______

____________________________________
Hon. George B. Daniels
United States District Judge
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